

People v Wagoner (2024 NY Slip Op 02487)





People v Wagoner


2024 NY Slip Op 02487


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024

PRESENT: LINDLEY, J.P., CURRAN, BANNISTER, MONTOUR, AND KEANE, JJ. (Filed May 3, 2024.) 


MOTION NO. (1180/20) KA 16-02366.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vTINA L. WAGONER, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








